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                                           UNITED STATES DISTRICT COURT
                                              MIDDLE DISTRICT OF ALABAMA
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                                                     July 14, 2021

                                              NOTICE OF REASSIGNMENT



         To:      All Counsel of Record



         Re:      Springer et al v. Wells Fargo Bank, N.A.
                  Civil Action No. 2:17‐cv‐00693‐ECM



         The above‐styled case has been reassigned to Judge William Keith Watkins.

         Please note that the case number is now 2:17‐cv‐00693‐WKW. The new case number should be
         used on all future correspondence and pleadings.
